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3                         UNITED STATES DISTRICT COURT
4                              DISTRICT OF NEVADA
5    RAFAEL REID,                             Case No. 3:17-cv-00532-HDM-CLB
6                           Petitioner,
             v.                                           ORDER
7
     CCS BAKER, et al.,
8
                           Respondents.
9

10           Good cause appearing, Petitioner’s Motion for Enlargement of
11   Time (ECF No. 61) is GRANTED.      Petitioner has until November 17,
12   2021, to file his reply in response to Respondents’ answer in this
13   case.
14        IT IS SO ORDERED.
15        DATED: this 12th day of November 2021.
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                                               HOWARD D. MCKIBBEN
18                                             UNITED STATES DISTRICT JUDGE
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